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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA,

v.                                                    Case Nos.: 3:08cr27/LAC/EMT
                                                                 3:21cv332/LAC/EMT
ROBERT L. IGNASIAK, JR.,
    Defendant.
                                             /

                        REPORT AND RECOMMENDATION

       Defendant has filed a Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence raising two grounds for relief (ECF No. 513).1 Defendant

claims his “sentence is unconstitutional” 2 due to deficient advice provided by

counsel regarding the Government’s burden of proof, failing which he would have

insisted on proceeding to trial instead of entering a plea (id. at 13–14). The court

ordered the Government to respond, and it did so by filing a Motion to Dismiss or

Stay Defendant’s Motion to Vacate Sentence due to a pending appeal (ECF No. 515).

After review of the record, the undersigned concludes that no response from

Defendant is necessary and the Government’s motion should be denied.


1
 The claims raised in the instant motion pertain only to Case No. 3:08cr27, and not Case No.
3:13cr95. Therefore, the court has not directed the clerk to file the § 2255 motion in both criminal
cases, as was previously done.
2
 It is evident that in seeking to vacate his sentence, Defendant is challenging the constitutionality
of his underlying convictions.
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                                PROCEDURAL HISTORY

       In February of 2009, Defendant was sentenced to a total term of 292 months’

imprisonment after a jury convicted him of forty-three counts of health care fraud

and unlawful sale, distribution, or dispensing of controlled substances (ECF No. 212,

259). The Eleventh Circuit reversed his convictions based on a Confrontation

Clause violation (ECF No. 330).

       A second trial that had been set for December of 2012 was continued after

Defendant absconded (ECF No. 396). Following Defendant’s arrest, trial was reset

for December of 2013 (ECF No. 403), but ultimately in October of 2013 Defendant

entered a plea pursuant to a written plea agreement and statement of facts (ECF Nos.

407–409). 3 In January of 2014, the court sentenced him to a total term of 240

months’ imprisonment in this case (ECF No. 418–419). Defendant did not appeal

but timely filed a § 2255 motion in both of his criminal cases alleging, among other

things, that counsel was constitutionally ineffective because he failed to file an

appeal (ECF No. 424). The undersigned conducted an evidentiary hearing in

November of 2017 and subsequently recommended that Defendant be permitted to

pursue a belated appeal (ECF No. 452).                  The district court adopted the

3
 Defendant simultaneously entered a plea of guilty in Case No. 3:13cr95, which charged him with
failure to appear. He was sentenced to a term of 120 months’ imprisonment, to run consecutively
to the sentence imposed in this case (see Case No. 3:13cr95, ECF No. 27).

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recommendation and entered a third amended judgment, after which Defendant

appealed (ECF Nos. 458, 459, 462). The Eleventh Circuit affirmed Defendant’s

direct appeal of his convictions and sentences on March 30, 2020 (ECF No. 489).

       Shortly thereafter, Defendant filed a Motion to Reduce Sentence or for

Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A) (ECF No. 491). The

district court denied the motion on December 21, 2020 (ECF No. 507). Defendant

appealed the denial of his motion (ECF No. 508), and the appeal is pending.

       In denying Defendant’s motion for a sentence reduction or compassionate

release, the court noted the Government’s position that the court did not have

jurisdiction to decide the motion because Defendant had filed a petition for

certiorari. The court stated, however, that “the filing of an appeal generally divests

the district court of jurisdiction over those aspects of the case that are the subject of

the appeal, unless the matter before the Court does not affect the question(s)

presented on appeal” 4 (ECF No. 507 at 2–3) (emphasis added). The court found it

proper to consider Defendant’s motion because “the matter presently before the

Court is substantially different from the matter presented in Defendant’s motion to

vacate, though both may seek the same form of relief” (ECF No. 507 at 3) (citing

4
 The court cited Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58, 103 S. Ct. 400, 402,
74 L. Ed. 2d 225 (1982); Doe, 1–13 ex rel. Doe Sr. 1–13 v. Bush, 261 F. 3d 1037, 1064–65, (11th
Cir. 2001); Shewchun v. United States, 797 F.2d 941, 942 (11th Cir. 1986).

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Berman v. United States, 302 U.S. 211, 213 (1937)). The same principles apply to

the Government’s motion to dismiss the instant § 2255 motion due to Defendant’s

pending appeal of the denial of his motion for compassionate release.

       In its motion to dismiss, the Government claims, citing case law discussing

direct appeals, that this court does not have jurisdiction to consider Defendant’s

§ 2255 motion, and it should be dismissed (see ECF No. 515 at 2). Alternatively,

the Government seeks a stay of the motion during the pendency of the appeal. The

undersigned is not persuaded that either remedy is appropriate under the

circumstances of this case.

       Clearly, the matter pending on appeal does not affect the questions presented

in the § 2255 motion. A favorable resolution of Defendant’s challenge to the court’s

denial of compassionate release would not impact the validity of Defendant’s

conviction. At best, it would affect only his custodial status. As noted above,

although Defendant states that his sentence is unconstitutional, his actual challenge

is not to the length of the sentence but rather to the conviction itself. He asserts that

had he understood the Government’s burden of proof, he would have insisted on

going to trial. For example, he claims trial counsel failed to inform him that the

Government would have to prove that the “claims submitted to Medicaid and Blue

Cross were false” and that he “unlawfully dispensed controlled substances” (ECF

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No. 513 at 13–14). Implicit in these arguments is his position that he would have

avoided conviction because he was innocent of the charges (id. at 15).

       Based on the foregoing, it is respectfully RECOMMENDED that:

       1.     The Motion to Dismiss or Stay Defendant’s Motion to Vacate Sentence

(ECF No. 515) be DENIED.

       2.     The Government be directed to respond to Defendant’s § 2255 motion

within thirty (30) days of the date an order adopting this recommendation is entered.

       At Pensacola, Florida, this 23rd day of March 2021.


                                     /s/ Elizabeth M. Timothy
                                     ELIZABETH M. TIMOTHY
                                     CHIEF UNITED STATES MAGISTRATE JUDGE


                              NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be
filed within fourteen days of the date of the Report and Recommendation. Any
different deadline that may appear on the electronic docket is for the court’s
internal use only and does not control. An objecting party must serve a copy of
its objections on all other parties. A party who fails to object to the magistrate
judge’s findings or recommendations contained in a report and
recommendation waives the right to challenge on appeal the district court’s
order based on the unobjected-to factual and legal conclusions. See 11th Cir.
Rule 3-1; 28 U.S.C. § 636.




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